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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                         EASTERN DIVISION

NICHOLAS BARNES,                         )
an individual,                           )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )        CIVIL ACTION NO:
                                         )
EAST ALABAMA MEDICAL                         )    3:24-cv-00512
CENTER FOUNDATION, d/b/a                     )
EAST ALABAMA MEDICAL                         )
CENTER,                                       )
a nonprofit corporation,                 )
                                         )
                                         )
       Defendant.                        )
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                                                 /s/ Jon-Kaden Mullen
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